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UNITE!) STATES l)ISTRlCT COUR'I`
MII)I)I_.E DISTRICT OF FLORI DA
TAMPA I)IVISION
MAY WALKIER, an indiviclual,
I’laintil`f`,

vs. Casc Nu. 8:16-cv-862-'I`-2?AAS

NIIWIN, LLC, d!l);"a LENI)GREEN,
a foreign limited liability company,

l)ef`endant.

 

ORI)F.R
BEFORE THE COURT is thc Nolice 01` Selllcment and Stipulation for I`)ismissal with
l’rcjudicc (Dkt. 29). Upon consideratione this case is l)ISMISSED with prejudice pursuant to
l-"` ederal Rule ol`Civil I’l'c)ccdurc 41(;1)(1)(/\)(0. linch party to bear its own attorneys’ 1"ces and costs.
'l`hc file shall remain closcd.

1’.*-
I)ONE AND ()RI)ERED this §§ day ofNovcmbcr, 2016.

   
 

ES I). WI'IITTEMORE
itcd States l)istrict .ludge
Cc)pies to:

Counscl 01` Recor'd

